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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 O.A., et al.,

                    Plaintiffs,

         v.                                                Civil Action No. 18-2718 (RDM)

 DONALD J. TRUMP, et al.,

                    Defendants.


 S.M.S.R. et al.,

                    Plaintiffs,

         v.                                                Civil Action No. 18-2838 (RDM)

 DONALD J. TRUMP, et al.,

                    Defendants.


                                             ORDER

        For the reasons stated in the Court’s Memorandum Opinion, Dkt. 92, it is hereby

ORDERED that Plaintiffs’ motions for summary judgment and class certification, Dkt. 51; Dkt.

52, are GRANTED in part and DENIED in part; it is further

        ORDERED that Defendants’ cross-motion for summary judgment, Dkt. 66, is DENIED;

and it is further

        ORDERED that Plaintiffs’ earlier-filed motions for temporary and preliminary

injunctive relief, Dkt. 6; Mot. for Temp. Restraining Order, Dkt. 6, S.M.S.R. et al. v. Trump et al.

(No. 18-2838), are DENIED as moot.
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       This Order constitutes the final judgment of the Court within the meaning of Rule 58(a)

of the Federal Rules of Civil Procedure.

       SO ORDERED.

                                                   /s/ Randolph D. Moss
                                                   RANDOLPH D. MOSS
                                                   United States District Judge


Date: August 2, 2019
